Case 1:23-cv-00511-AT Document 1-1 Filed 02/02/23 Page 1 of 2

JS44 (Rev. 10/2020 NDGA) CIVIL COVER SHEET

The JS44 civil cover sheet and the information contained hercin neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

 

I. (a) PLAINTIFF(S) DEFENDANT(S)
Chantelle Debejare, Cayla Klett, Muddassar Hussan, Stanley Provista Diagnostics, Inc., Todos Medical Ltd.,
Morse, Kathleen Madelon, Tyiesha Berger and Micah Hylton and Daniel Hirsch, in his individual capacity

 

 

 

(b) COUNTY OF RESIDENCE OF FIRST LISTED COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF DEFENDANT Fulton
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED
(c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND ATTORNEYS (IF KNOWN)
E-MAIL ADDRESS)
LUCAS & LEON, LLC
Beverly Lucas
Post Office Box 752
Clarkesville, Georgia 30523
706-754-2001
beverly@lucasandleon.com
II. BASIS OF JURISDICTION WI. CITIZENSHIP OF PRINCIPAL PARTIES
(PLACE AN “X” IN ONE BOX ONLY) (PLACE AN “X* IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDAN ry

(FOR DIVERSITY CASES ONLY)

PLF DEF PLE DEF
CC, U.S. GOVERNMENT [4]; FEDERAL QUESTION CJ 1 C] 1 CITIZEN OF THIS STATE XO 4 O 4 INCORPORATED OR PRINCIPAL
PLAINTIFF (U.S. GOVERNMENT NOT A PARTY) PLACE OF BUSINESS IN THIS STATE
CI U.S. GOVERNMENT CI, DIVERSITY C1, Lh CITIZEN OF ANOTHER stare 5 LI, INCORPORATED AND PRINCIPAL
DEFENDANT {INDICATE CITIZENSHIP OF PARTIES PLACE OF BUSINESS IN ANOTIIER STATE
IN [TEM 1
CI, U1; CITIZEN OR SUBJECT OF A L 6 O1. FOREIGN NATION

FOREIGN COUNTRY

 

 

IV. ORIGIN (PLACE AN *X “IN ONE BOX ONLY)
TRANSFERRED FROM MULTIDISTRICT APPEAL TO DISTRICT JUDGE

Mv; ORIGINAL CL), REMOVED FROM C1; REMANDED FROM C1. REINSTATED OR Ls ANOTHER DISTRICT C1. LITIGATION - L) FROM MAGISTRATE JUDGE
PROCEEDING STATE COURT APPELLATE COURT REOPENED (Specify District) TRANSFER JUDGMENT

MULTIDISTRICT
8 LITIGATION -
DIRECT FILE

 

V. CAUSE OF ACTION (CITE THE U.S, CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
JURISDICTIONAL STATUTES UNLESS DIVERSITY)

FLSA violations in minimum wage and overtime. unjust enrichment and state law claim OCGA 13-6-11

(IF COMPLEX, CHECK REASON BELOW)

O 1. Unusually large number of parties. CO 6. Problems locating or preserving evidence

L 2. Unusually large number of claims or defenses. [ 7. Pending parallel investigations or actions by government.
CJ 3. Factual issues are exceptionally complex O 8. Multiple use of experts.

C 4. Greater than normal volume of evidence. C] 9. Need for discovery outside United States boundaries.

O 5. Extended discovery period is needed. Cho. Existence of highly technical issues and proof.

 

CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT # AMOUNT § APPLYING IFP MAG. JUDGE (IFP)

JUDGE. MAG. JUDGE. NATURE OF SUIT. CAUSE OF ACTION
(Referral)
Case 1:23-cv-00511-AT Document 1-1 Filed 02/02/23 Page 2 of 2

VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)

CONTRACT - "0" MONTHS DISCOVERY TRACK
‘TJ 150 RECOVERY OF OVERPAYMENT &
ENFORCEMEN') OF JUDGMENT
(182 RECOVERY OF DEFAULTED STUDENT
LOANS (Fxel, Veterans)
171153 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "47 MONTHS DISCOVERY TRACK
Ho INSURANCE
120 MARINE
130 MILLER ACT
(J 140 NEGOTIABLE INSTRUMENT
151 MEDICARE ACT
160 STOCKIIOLDERS' SUITS
190 OTHER CONTRACT
195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT.

240 TORTS TO LAND

245 TORT PRODUCT LIABILITY

290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY -"4" MONTHS
DISCOVERY TRACK
(1310 AIRPLANE
315 AIRPLANE PRODUCT LIABILITY
320 ASSAULT, LIBEL & SLANDER
330 FEDERAL EMPLOYERS' LIABILITY
340 MARINE
345 MARINE PRODUCT LIABILITY
350 MOTOR VEHICLE
355 MOTOR VEHICLE PRODUCT LIABILITY
360 OTHER PERSONAL INJURY
362 PERSONAL INJURY - MEDICAL
MALPRACTICE
(1 365 PERSONAL INJURY - PRODUCT LIABILITY
[7] 367 PERSONAL INJURY - HEALTH CARE/
PITARMACEUTICAL PRODUCT LIABILITY
[[J 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK
370 OTITER FRAUD
(2371 TRUTH IN LENDING
380 OTHER PERSONAL PROPERTY DAMAGE
H 385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK
422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS -"4" MONTHS DISCOVERY TRACK

440 OTHER CIVIL MIGHTS

441 VOTING

442 EMPLOYMENT

443 LIOUSING/ ACCOMMODATIONS

445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other

448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK

462 NATURALIZATION APPLICATION
465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK

 

463 HABEAS CORPUS- Alien Detainee

510 MOTIONS TO VACATE SENTENCE

530 HABEAS CORPUS

535 I[ABEAS CORPUS DEATI! PENALTY

540 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se
Cl 560 CIVIL DETAINEE: CONDITIONS OF

CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY
TRACK

I ] 550 CIVIL RIGHTS - Filed by Counsel

FOR

TRA

LAB

PRO

TRA

PRO

[[] 555 PRISON CONDITION(S) - Filed by Counsel

FEITURE/PENALTY - "4" MONTHS DISCOVERY

 

[_] 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC B81
[CJ 690 OTHER

OR - "4" MONTHS DISCOVERY TRACK
TO FAIR LABOR STANDARDS ACT
720 LABOR/MGMT. RELATIONS
740 RAILWAY LABOR ACT
75) FAMILY ond MEDICAL LEAVE-ACT
TO) OTHER LABOR LITIGATION
To EMPL RET. ING, SECURITY ACT

PERTY RIGHTS - "4" MONTHS DISCOVERY

OK

(J 820 copyricuts

(7) 840 TRADEMARK

[CJ 880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

7ERTY RIGHTS - "8" MONTHS DISCOVERY

TRACK

[_] 830 PATENT

_] 835 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Ifatch-Waxman cases

 

SOCIAL SECURITY - "0" MONTHS DISCOVERY
TRACK
861 HIA (139511)

862 BLACK LUNG (923)
863 DIWC (405(g))

863 DIWW (405(z))

864 SSID TITLE XVI
865 RSI (405(g))

FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
TRACK
([] 870 TAXES (U.S. Plaintiff or Defendant)
([] 87! IRS - THIRD PARTY 26 USC 7609

OTHER STATUTES ~ "4" MONTHS DISCOVERY
TRAC

14

375 FALSE CLAIMS ACT

376 Qui Tam 31 WSC 3729(a)

400 STATE REAPPORTIONMENT

430 BANKS AND BANKING

450 COMMERCENCE RATES/ETC,

460 DEPORTATION

470 RACKETEER INFLUENCED AND CORRUPT

ORGANIZATIONS

480 CONSUMER CREDIT

485 TELEPHONE CONSUMER PROTECTION ACT

490 CABLE/SATELLITE TV

890 OTHER STATUTORY ACTIONS

891 AGRICULTURAL ACTS

893 ENVIRONMENTAL MATTERS

895 FREEDOM OF [INFORMATION ACT 899

899 ADMINISTRATIVE PROCEDURES ACT /
REVIEW OR APPEAL OF AGENCY DECISION

950 CONSTITUTIONALITY OF STATE STATUTES

 

0 OOOO nooo

OTHER STATUTES - "8" MONTHS DISCOVERY.
TRACK

 

4 410 ANTITRUST

850 SECURITIES / COMMODITIES / EXCHANGE
OTHER STATUTES - “0" MONTHS DISCOVERY
TRACK

[1 896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

 

VIL. REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23

DEMAND

JURY DEMAND O YES O NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

 

 

VIII. RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF ‘THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
(1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(12. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

(3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(714. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(15. REPETITIVE CASES FILED BY PROSE LITIGANTS.
(116. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.
Cis Nor (check one box) SUBSTANTIALLY THE SAME CASE.

DISMISSED. This case [1] 18

lf}

» WHICH WAS

 

 

 

ja iF

 

SIGNATURE OF AT TORMEY OF RECORD

Xp 2023

DATE
